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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATE OF AMERICA,

                        Plaintiff,

                        v.                            Case No. 1:21-cr-40-4

    CHRISTOPHER JOSEPH QUAGLIN,

                        Defendant.


                                             ORDER
        Christopher Joseph Quaglin has been awaiting trial on multiple felonies arising out of his

conduct on January 6 since December 2021. Trial was originally set for October 3, 2022, for

him and his two co-defendants. His attorney, Joseph McBride, filed few pretrial motions and

was frequently unavailable for status hearings. As such, the Court repeatedly expressed concerns

about McBride’s ability to represent Quaglin. See, e.g., Minute Entry for Status Conference

(Aug. 8, 2022). Then, McBride moved for a continuance on August 3, 2022, citing health issues

that rendered him unable to represent Quaglin. See ECF No. 406 (reporting a health condition

that requires treatment and recovery for two to three months). The Court held a hearing on that

motion and reluctantly continued the trial until April 10, 2023.

        On March 6, 2023—barely a month before trial—McBride moved to withdraw as

Quaglin’s attorney. See ECF 559. In that motion, he stated that due to his representation of

another January 6 defendant in USA v. Nichols, 21-cr-117-RCL, scheduled for trial on March 27,

2023, he is unable to represent Quaglin. See Mot. to Withdraw, ECF No. 559. 1 McBride stated


1
  Upon review of the Nichols docket, it appears that the trial previously scheduled for March 27,
2023 has also been continued as of March 21, 2023. McBride also filed a continuance in that
case based on the physical health of the Defendant, which Judge Lamberth granted. See 21-cr-
117, ECF No. 212.
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that his second chair, attorney Jonathan Gross, will take over Quaglin’s case and that “this

request will not prejudice Defendant Quaglin.” See id. McBride wrote that Gross “knows

Quaglin’s case well” and that he had notified Quaglin and his family of the change. See id.

With this information in hand, the Court granted McBride’s motion to withdraw that same day.

Two days later, Gross moved to withdraw from the Nichols case to “devote [his] time and

attention to Mr. Quaglin’s [case].” See 21-cr-117, ECF No. 219.

        Then, on March 14, 2023—less than a month before trial—Gross notified the Court that

he intends to file for a continuance. See Tr. of Mot. Hr’g, ECF No. 582; Not. of Intent to File a

Mot. for a Continuance, ECF No. 578. The Government immediately opposed, see ECF No.

580, and this Court held a hearing a few days later, see Minute Entry (Mar. 21, 2023).

        During the hearing, Gross stated that he entered his appearance in Quaglin’s criminal

case “inadvertently” and was retained only for the habeas case Quaglin brought against the

warden at Northern Neck Regional Jail. See Tr. of Mot. Hr’g at 6–7; see also 22-cr-1154. Gross

then explained that he does not practice criminal law and that he is not competent to be Mr.

Quaglin’s lead attorney at the trial scheduled to begin in a few weeks. See id. at 6–9. Gross also

stated that he strictly observes the holiday of Passover and would be unavailable for the first four

days of the trial if it proceeds as scheduled. See id. at 4, 7.

        Quaglin’s attorneys have now delayed this trial multiple times to the detriment of their

client, who remains detained, and to the inconvenience of his co-defendants and the Government

who seek a speedy resolution to this matter. Indeed, the Court has doubts that McBride’s initial

continuance request was made in good faith. 2 Given the inconsistencies between McBride’s



2
  McBride stated in August 2022 that he would be undergoing medical treatment for two to three
months that would make preparation for trial difficult and that he “does not have an exact
timetable regarding recovery.” Mot. to Continue, ECF No. 406; see also 21-cr-117, Mot. to
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motion to withdraw, Gross’s motion to withdraw in the Nichols case, and Gross’s statements at

the March 21st hearing, McBride and Gross are hereby

        ORDERED to SHOW CAUSE as to why they should not be referred to the Committee

on Grievances for the U.S. District Court for the District of Columbia for attorney discipline

under D.C. Rules of Professional Conduct 1.1 (competence), 1.3 (diligence), and 3.3 (candor to

the tribunal).

        ORDERED that McBride and Gross must file responses to this Order, if any, by April

10, 2023. It is also

        ORDERED that McBride and Gross shall appear for an in-person hearing on this Order

on April 18, 2023, at 10:00 am in Courtroom 2.

        SO ORDERED. The Clerk of Court is requested to serve a copy of this Order on

McBride at jmcbride@mcbridelawnyc.com because he has withdrawn from this case.


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Dated: March 23, 2023                                TREVOR N. McFADDEN, U.S.D.J.




Continue, ECF No. 129 (seeking a similar continuance in the Nichols case). However, McBride
continued to file motions in the Nichols matter and appeared in court, see, e.g., 21-cr-117,
Minute Entry (Sept. 8, 2022). According to his public twitter account, he also gave many news
interviews during that time. See, e.g., https://tinyurl.com/3639tur4; https://tinyurl.com/2p96f6ee.
McBride also spoke to a local Committee about his fight for the “January 6 political prisoners,”
see https://tinyurl.com/y5tw7mn6, and continued to tweet at length about Quaglin’s troubling
detention conditions, see https://tinyurl.com/3347usup, despite not filing anything on his behalf.
Finally, in early November 2022, McBride posted pictures of himself on the beach at Mar-a-
Lago and inside former President Trump’s 2024 campaign announcement party. See
https://tinyurl.com/yrfryd74; https://tinyurl.com/5t4784cd. While lawyers—like all citizens—are
entitled to speak freely, these public representations by McBride call into question the
genuineness of his need for a medical continuance because of his inability to represent Quaglin
last October.
